                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AMY BRYANT, M.D., M.S.C.R.; BEVERLY               )   CIVIL ACTION
GRAY, M.D.; ELIZABETH DEANS, M.D., on             )
behalf of themselves and their patients seeking   )   Case No. 1:16-CV-01368
abortions; and PLANNED PARENTHOOD                 )
SOUTH ATLANTIC, on behalf of itself, its staff,   )
and its patients seeking abortions,               )
                                                  )
Plaintiffs,                                       )
                                                  )
v.                                                )
                                                  )
JIM WOODALL, in his official capacity as          )
District Attorney (“DA”) for Prosecutorial        )
District (“PD”) 15B; ROGER ECHOLS, in his         )
official capacity as DA for PD 14; ELEANOR E.     )
GREENE, M.D., M.P.H, in her official capacity     )
as President of the North Carolina Medical        )
Board; RICK BRAJER, in his official capacity as   )
Secretary of the North Carolina Department of     )
Health and Human Services; and their              )
employees, agents, and successors,                )
                                                  )
Defendants.                                       )



PLAINTIFFS’ BRIEF IN RESPONSE TO THE COURT’S JULY 8, 2022 ORDER
        OPPOSING RELIEF PURSUANT TO FED. R. CIV. P. 60(b)




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       NOW COME Plaintiffs Amy Bryant, et al. (“Plaintiffs”), by and through

undersigned counsel, who submit this brief in response to the Court’s July 8, 2022 Order

(“July 8 Order”). The July 8 Order sought the Parties’ positions on the Court’s May 24,

2019, injunction in light of the Supreme Court’s recent decision in Dobbs v. Jackson

Women’s Health Organization, 597 U.S. __, 2022 WL 2276808 (June 24, 2022).

(“Dobbs”). See Dkt. No. 109. Neither party seeks to reopen the case, and a justiciable

controversy no longer exists. The injunction should not be disturbed.

       Under the plain text of Federal Rule of Civil Procedure 60(b), the court may relieve

a party of an order only “on motion.” Here, no motion has been filed. Relief from the 2019

injunction would thus be contrary to the Rule’s text, and to the principles undergirding

justiciability and separation of powers.

       This Court first asks whether the injunction retains legal force and effect. Dkt. No.

109 at 2. The answer is yes. The issuance of the decision in Dobbs has no legal impact on

the existing injunction in this case. An injunction continues until vacated or modified;

neither has happened as of this date.

       The Court also asks whether this Court should enter an order granting relief from

the injunction pursuant to, inter alia, Federal Rule of Civil Procedure 60(b)(5). Id. The

answer is no. No party intends to file a Rule 60(b) motion to lift the injunction, which is

required to issue such relief under the plain text of that Rule. Nor would it be proper for

the Court to grant relief from its own injunction sua sponte. While legislative amici




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(“Amici”) have indicated their intent to file a Rule 60(b) motion, they are not parties in this

case, and their intervention would be improper under Fourth Circuit law.

            STATEMENT OF FACTS AND PROCEDURAL BACKGROUND

       In 2016, North Carolina amended its felony ban on abortion after the twentieth week

of pregnancy, altering the health exception to permit access to abortion only under

extraordinarily limited exceptions. See N.C. Gen. Stat. §§ 14-44, 14-45, 14-45.1. Under

that law, no resident could lawfully obtain a previability abortion after the twentieth week

of pregnancy absent a determination that an abortion was necessary to “avert her death or

for which a delay will create serious risk of substantial and irreversible physical impairment

of a major bodily function, not including any psychological or emotional conditions.” N.C.

Gen. Stat. § 90-21.81(5). This exception did not include circumstances of rape, incest, or

fetal health conditions.

       On June 24, 2022, the Supreme Court issued its decision in Dobbs, overturning Roe

and Casey. See Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833 (1992);

Roe v. Wade, 410 U.S. 113 (1973). Defendants took no action following the Dobbs

decision.

       Following the Court’s July 8 Order, the North Carolina Department of Justice

(“DOJ”), on behalf of Defendants, announced on July 21, 2022, that it would not seek relief

from the judgment and injunction.1


1
  See Official Statement of North Carolina Attorney General Josh Stein, July 21, 2022.
https://ncdoj.gov/attorney-general-josh-stein-will-not-ask-court-to-limit-womens-
freedom/

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                                       ARGUMENT

         Dobbs does not disturb the three-year-old judgment and injunction in this case.

Neither Plaintiffs nor Defendants wish to disturb the injunction. With no motion from the

parties forthcoming, the Court should not issue relief under Rule 60(b) because the plain

text of the rule provides that relief from the judgment is initiated only “on motion and just

terms.” These circumstances dispose of the Court’s question whether the injunction should

stand.

         Even were Defendants inclined to seek relief from the injunction now, they would

not be entitled to do so under Fourth Circuit law. Defendants’ appeal of this Court’s

decision in Bryant v. Woodall, 363 F. Supp. 3d 611 (M.D.N.C. 2019) (“Bryant I”) did not

preserve their arguments because they only appealed on standing, not the merits.

Defendants also chose not to appeal the Fourth Circuit’s decision in Bryant v. Woodall, 1

F.4th 280 (4th Cir. 2021) (“Bryant II”), and almost a full year has passed since appeals

have been exhausted. Even if a motion under Rule 60(b) could properly substitute a timely

appeal (it cannot), the “extraordinary remedy” of Rule 60(b) relief is unwarranted here,

where there is consensus among all parties that the injunction should be maintained.

         Granting relief now from a settled judgment would unfairly prejudice Plaintiffs and

their patients, and no exceptional circumstances warrant Rule 60(b) relief—as opposed to

any other route open to Defendants. See Amr v. Att’y Gen. of Virginia, No. 3:11CV423,

2013 WL 1499066, at *4 (E.D. Va. Feb. 25, 2013). The Court should preserve the finality

of its judgment.



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I.     THE MAY 24, 2019 INJUNCTION REMAINS IN FULL FORCE AND
       EFFECT FOLLOWING DOBBS

       The power to set aside an injunction based on changed circumstances of fact or law

is committed to the discretion of the trial court that issued it. See Fed. R. Civ. P. 60; Sys.

Fed’n No. 91, Ry. Emps. Dep’t, AFL-CIO v. Wright, 364 U.S. 642, 647 (1961); Weisman

v. Charles E. Smith Mgmt., Inc., 829 F.2d 511, 513–14 (4th Cir. 1987). Unless the court

acts on a specific judgment or order, however, a subsequent change in law in another case

does not affect any earlier rulings; they remain in full force and effect until modified or

vacated by the presiding court. Nat’l Org. for Women v. Operation Rescue, 47 F.3d 667,

668–70 (4th Cir. 1995) (refusing to vacate judgment after “underpinning” decision in a

different case was reversed by the Supreme Court); see also Rodriguez de Quijas v.

Shearson/Am. Express, Inc., 490 U.S. 477, 485 (1989) (“The general rule of long standing

is that the law announced in the Court’s decision controls the case at bar.”). The May 24,

2019 injunction in this case therefore remains in effect.

II.    THE COURT MAY NOT DISTURB THE JUDGMENT SUA SPONTE
       UNDER THE PLAIN LANGUAGE OF RULE 60(B)

       Absent a party’s motion, this Court cannot re-open this case and vacate the judgment

or injunction. “The powers reflected in Rule 60(b) are subject to limitations imposed by

the rule itself and by precedent.” United States v. Winestock, 340 F.3d 200, 204 (4th Cir.

2003) (citations omitted). The plain text of Rule 60(b) is clear: “On motion and just terms,

the court may relieve a party . . . from a final judgment, order, or proceeding[.]” Fed. R.

Civ. P. 60(b) (emphasis added).



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       A.     The plain text of Rule 60(b) requires a motion.

       Rule 60(b) relief may be invoked only upon a party’s “motion,” as it explicitly offers

relief only to a party or that party’s representative. Fed. R. Civ. P. 60(b). This plain meaning

is reinforced by contrasting the text of neighboring subsection Rule 60(a), which provides

that the court may correct a clerical mistake “on motion or on its own” “whenever one is

found.” Where the drafter “has utilized distinct terms within the same statute, the applicable

canons of statutory construction require that we endeavor to give different meanings to

those different terms.” Peck v. United States Dep’t of Labor, Admin. Review Bd., 996 F.3d

224, 231 (4th Cir. 2021) (citing Soliman v. Gonzales, 419 F.3d 276, 293 (4th Cir. 2005)).

Under this different-terms canon, that Rule 60 allows the Court to correct clerical mistakes

“on motion or on its own” “whenever one is found” but limits relief from judgments and

orders to “a party or its legal representative” and “on motion and just terms” confirms that

the two subsections have different meanings. The Court thus is not empowered to grant

Rule 60(b) relief without a party’s motion.

       Because the text of Rule 60(b) requires a party’s motion and no party intends to file

one, the injunction should be left intact.

       B.     The Court should join the Circuits following the plain text of Rule 60(b).

       While circuits split on this issue, the courts applying the plain text of the Rule have

correctly held that district courts may not grant 60(b) relief without a motion from an

aggrieved party. The Sixth and Tenth Circuits expressly follow Rule 60(b)’s text and

accordingly hold that Rule 60(b) relief cannot be granted sua sponte. See, e.g., United



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States v. Pauly, 321 F.3d 578, 581 (6th Cir. 2003) (“[B]ecause Rule 60(b) explicitly

requires relief under the rule to occur ‘on motion,’ courts may not grant such relief except

upon ‘a motion from the affected party.’”); Dow v. Baird, 389 F.2d 882, 884 (10th Cir.

1968) (“[T]he only errors in a judgment which a district court may correct of its own

initiative are those sanctioned by Rule 60(a).”). Indeed, in noting the circuit split on this

issue, the Seventh Circuit recently indicated concern that its previous holdings

“summarily” condoning sua sponte Rule 60(b) relief were in tension with the Rule’s text.

See Van Cannon v. United States, 890 F.3d 656, 661 (7th Cir. 2018) (comparing text of

Rule 60(a) and (b)).

       Amici point to the only time the Fourth Circuit has commented on whether Rule

60(b) requires a party’s motion, in 60-year-old dicta. In Jacobs, the Fourth Circuit affirmed

the trial court’s grant of Rule 60(b) relief in response to motions to modify the judgment

that were filed by both original parties in the case as well as one of the parties’ attorneys

as an intervenor. The Jacobs court observed in passing that Rule 60(b) “need not

necessarily be read as depriving the court of the power to act in the interest of justice in an

unusual case in which its attention has been directed to the necessity for relief by means

other than a motion.” Jacobs v. United States, 298 F.2d 469, 472 (4th Cir. 1961). But

because the parties did file motions to modify the judgment, this observation is dicta.

Indeed, the court repeatedly found it a significant procedural fact supporting the holding

that both parties in the case had filed motions to modify the judgment, explaining at length:

“each [party] . . . filed motions seeking modification of the judgment . . . Since both of the



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original parties were seeking modification of the judgment, surely the court was not

restricted to the particular modifications suggested by the motions of the two original

parties . . . when the matter has been brought before the court by proper motions by the

parties . . . .” Jacobs, 298 F.2d at 472–73 (emphasis added). Given the actual holding of

Jacobs, the dicta upon which Amici rely is not binding law, particularly where the plain

language for Rule 60(b) provides otherwise. And in any event, this case is the polar

opposite of Jacobs, as no party has moved or intends to move for relief.

        Moreover, post-Jacobs, the Supreme Court has made clear that a party bears the

burden of establishing its entitlement to Rule 60(b) relief. See Horne v. Flores, 557 U.S.

433, 447 (2009) (“The party seeking relief bears the burden of establishing that changed

circumstances warrant relief.”); Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 384

(1992). Here, no party has even attempted to meet that burden.2 Rule 60(b) relief would be

improper.

III.    ANY HYPOTHETICAL RULE 60(B) MOTION WOULD FAIL UNDER
        FOURTH CIRCUIT LAW

        Even were a Rule 60(b) motion to be filed, it would fail. “[B]efore a party may seek

relief under Rule 60(b), a party first must show timeliness, a meritorious defense, a lack of

unfair prejudice to the opposing party, and exceptional circumstance.” Dowell v. State

Farm Fire & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993). Again, this burden falls


2
  Because Rule 60(b) “codifies inherent judicial powers that were previously exercised
through a gaggle of common-law writs, which the rule abolishes,” United States v.
Winestock, 340 F.3d 200, 204 (4th Cir. 2003) (emphasis added), Amici’s arguments
concerning the Court’s inherent powers are simply inapposite.

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on the party seeking relief. Horne, 557 U.S. at 447. After meeting that threshold showing,

the movant would then have to show that one of six enumerated grounds for Rule 60(b)

relief is satisfied. Id.; see also Nat’l Credit Union Admin. Bd. v. Gray, 1 F.3d 262, 266 (4th

Cir. 1993). Defendants would be unable to show they are entitled to Rule 60(b) relief here

at either stage, particularly given their prior decision not to appeal the judgment and

injunction on the merits. See United States v. Welsh, 879 F.3d 530, 537 (4th Cir. 2018);

L.J. v. Wilbon, 633 F.3d 297, 305 (4th Cir. 2011).

         A.      The threshold requirements of Rule 60(b) cannot be met.

         Any Rule 60(b) motion would fail at the outset not least because movants would be

unable to show exceptional circumstances warranting extraordinary relief, and because of

the substantial prejudice it would cause Plaintiffs and their patients.3

         First, the State cannot show exceptional circumstances because it voluntarily

abandoned its appeal rights. In the Fourth Circuit, Rule 60(b) relief is unavailable following

a “voluntary, deliberate, free, [and] untrammeled choice” not to appeal an original

judgment. Dowell, 993 F.2d at 48 (quoting Ackermann v. United States, 340 U.S. 193, 200

(1950); see also Aikens v. Ingram, 652 F.3d 496, 502 (4th Cir. 2011) (noting “this court

has consistently held” that no extraordinary circumstances exist where petitioner chose not

to appeal). Here, any Rule 60(b) motion would come nearly three years after this Court

first entered the injunction and after Defendants’ voluntary decision to not appeal the

injunction. Specifically, Defendants did not appeal on the merits at their first opportunity,


3
    Because a motion has not been filed, Plaintiffs cannot presently offer a view on timeliness.

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did not appeal the Fourth Circuit’s decision to the Supreme Court at their second

opportunity, and have disavowed further action in this case following the decision in

Dobbs. There can thus be no exceptional circumstance warranting Rule 60(b) relief. See

Aikens, 652 F.3d at 502.

       Second, Plaintiffs and their patients would suffer substantial prejudice were the

injunction lifted. Currently, the injunction preserves Plaintiffs’ ability to provide critical

healthcare services to North Carolina residents without fear of criminal prosecution. Bryant

I, 363 F. Supp. 3d at 632. Lifting the injunction would create apprehension and uncertainty

among providers about what kind of patient care they can legally provide in North Carolina

without risk of criminal liability, especially under the extraordinarily narrow emergency

exception—uncertainty that risks significant adverse outcomes for pregnant North

Carolinians. Reinstating the 20-week ban would criminalize the provision of medical care

to people suffering miscarriages and to victims of rape and incest; it would threaten the

lives of those who will experience grave physical and mental pain and suffering if forced

to carry a pregnancy and to give birth.

       None of this is hyperbole. The sole statutory exception for medical emergencies is

worded vaguely, and physicians’ judgment about whether and when an abortion is

warranted will be inescapably skewed or chilled by their concern that their medical

judgment will be second-guessed by the State.4 For example, physicians may be chilled


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  See N.C. Gen. Stat. § 14-45.1(b1) (“A qualified physician who advises, procures, or
causes a miscarriage or abortion after the twentieth week of a woman’s pregnancy shall


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from providing critical care to patients suffering from miscarriage where fetal demise has

not yet occurred. Fear of prosecution would also interfere with medical judgment in

emergency cases, inevitably leading to harm to at least a subset of pregnant people due to

caution surrounding criminal liability. Despite Defendants’ pronouncement that the DOJ

is committed to preserving “women’s ability to make their own reproductive health care

decisions,” lifting the injunction risks uneven enforcement from individual prosecutors

within North Carolina. This lack of clarity about whether and when an abortion is medically

necessary, the unfair and disparate application of the law, and ultimately the grave—and

potentially fatal—harm to pregnant people all give rise to severe prejudice to Plaintiffs that

militates against allowing a Rule 60(b) motion.

       The threshold requirements necessary for consideration of the Rule 60(b) motion

cannot be met.

       B.    Defendants would not be entitled to relief under any enumerated part of
       Rule 60(b).

       Rule 60(b)(5) is the only enumerated ground that could arguably apply here: if “the

judgment has been satisfied, released, or discharged; it is based on an earlier judgment that

has been reversed or vacated; or applying it prospectively is no longer equitable.”

       Of the three Rule 60(b)(5) clauses, only the third—where applying the judgment

prospectively would be inequitable—is even conceivably relevant here. And it does not


record the findings and analysis on which the qualified physician based the determination
that there existed a medical emergency as defined by G.S. 90-21.81(5) and shall provide
that information to the Department of Health and Human Services pursuant to G.S. 14-
45.1(c)”).

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apply for the simple reason that Defendants do not seek to lift the injunction and have not

satisfied their burden to show why it should be lifted. Cf. Horne, 557 U.S. at 447. To the

contrary, Defendants have now represented that maintaining the injunction is in their

interests and the interests of North Carolina residents who seek safe, legal abortions. See

supra at 2 n.1. There is thus no basis for the Court to find that the changes in decisional

law effectuated by Dobbs “warrant[] modification of the original order.” Horne, 557 U.S.

at 455; Fed. R. Civ. P. 60(b)(5).

       Amici cite Horne and Agostini v. Felton, 521 U.S. 203, 239 (1997), in their

argument that this Court may order relief from the injunction under Rule 60(b)(5). In both

Horne and Agostini, the parties moved for Rule 60(b)(5) relief and made showings that the

injunctions would have resulted in inequitable outcomes in light of the subsequent change

in decisional law. The Supreme Court ruled only after finding the parties carried the

requisite burden to warrant modification of the original orders. In Agostini, the erosion of

the precedent underlying the original injunction meant that prospective application would

result in a needless expenditure of millions of dollars to comply. 521 U.S. at 239. Similarly,

in Horne, continued application of the injunction would have caused money to be diverted

from worthwhile educational programs. 557 U.S. at 447–48. Thus, in both cases, the

moving parties showed they would suffer unjustifiable, inequitable fiscal injury if the

original injunction were prospectively applied.

       This case is distinguishable. No party is arguing that continued application of the

injunction in this case would result in an inequitable outcome or cost the State money. To



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the contrary, Plaintiffs and Defendants agree that it would be inequitable if the injunction

were modified or lifted, opening Plaintiffs and North Carolina residents up to criminal

prosecution, government surveillance, and pain and suffering associated with forced

pregnancy, unmet miscarriage management needs, and childbirth. At best, prospectively

applying the injunction does not affect the equities; at worst, lifting the injunction would

deter and deprive pregnant people of critical healthcare even absent a desire on the part of

the State to deter or prosecute providers—a facially inequitable outcome. See Lowery v.

United States, No. 3:05-CR-216-RJC-2, 2018 WL 4600301, at *3 (W.D.N.C. Sept. 25,

2018) (noting Rule 60(b) relief should be granted only to the extent “appropriate to

accomplish justice” in “situations involving extraordinary circumstances”). Either way,

and unlike Horne and Agostini, no party can point to an “equitable” outcome that would

result from so-called relief from the injunction. There is therefore no basis for this Court

to apply Rule 60(b)(5).5

       Accordingly, the Court should decline to grant Rule 60(b) relief.6 However, given

that the medical procedure required to perform certain abortions safely after the twentieth


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  Amici claim that this case is similar to Agostini because the injunction was based entirely
upon Supreme Court precedent that is no longer good law, but they ignore the actual text
of Rule 60(b)(5) and fail to delineate what inequities would result analogous to the
unjustifiable financial harm caused by prospective application of the injunction in Agostini.
And unlike Agostini, Amici have a readily available remedy here—to take their concerns
back to the halls of the General Assembly and, enact a new law following the proper
legislative course.
6
  If the Court disagrees, Plaintiffs intend to relitigate the constitutionality of the ban and
the amended and extremely limited emergency exception under the new constitutional


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week of pregnancy is a two-day procedure, should the Court determine to stay or lift the

injunction, Plaintiffs respectfully request at minimum 24 hours’ notice because it is

medically inadvisable for a patient to begin but then not complete the second day of the

procedure.

IV.    INTERVENTION IS NOT APPROPRIATE AT THIS TIME.

       To the extent Amici’s brief is intended to be read as an implied motion to intervene,

this is improper, as well as untimely and unavailing on the merits. Indeed, had Amici

disclosed they intended to seek intervention in their brief, Plaintiffs would not have

consented to their amicus request.

       As an Article III court, this Court must take care to avoid adjudicating questions

where there is no active case or controversy. See Jacobs 298 F.2d at 472 (noting “more

formal pleading in a new and independent action” as alternative to Rule 60(b) motion).

Rule 60(b) expressly states that the court may grant relief only to “a party.” Fed. R. Civ. P.

60(b). Amici are not party to this case. Moreover, Amici would need to show they are

entitled to intervention, but they have not attempted to do so. Amici are required to file a

motion to intervene, and, following any such motion, Plaintiffs would be entitled to

respond in opposition on numerous bases, including, but not limited to, the untimely nature

of the motion.




standard. Plaintiffs also intend to amend the Complaint to further address shortcomings in
the statute’s medical emergency exception. Plaintiffs respectfully request that, if the Court
lifts the injunction, it give Plaintiffs leave to amend its complaint to raise additional claims.

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V.    CONCLUSION

      The Court should not vacate or modify the May 24, 2019, injunction in this case.


RESPECTFULLY SUBMITTED this 8th day of August 2022.


/s/ Genevieve Scott


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                        CERTIFICATE OF WORD COUNT

      Pursuant to Local Rule 7.3, I hereby certify that the foregoing Brief In Response to

The Court’s July 8, 2022 Order contains 3,331 words.




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                            CERTIFICATE OF SERVICE

      I hereby certify that on the August 8, 2022, I electronically filed the foregoing

Memorandum of Law Regarding Relief from Judgment Under Rule 60(b) with the clerk of

the court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record who have appeared in the case.

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